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              UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

BEVERLY HARDY,               ) Case No.: 5:11-cv-400-JS
                             )
         Plaintiff,          )
    v.                       )
                             ) (Unlawful Debt Collection Practices)
                             )
NCO FINANCIAL SYSTEMS, INC., )
         Defendant.          )
                             )
                             )

                    NOTICE OF VOLUNTARY DISMISSAL

TO THE CLERK:

      NOTICE IS HEREBY GIVEN that the above-captioned case has been

DISMISSED with prejudice.



_/s/ Craig Thor Kimmel _______
Craig Thor Kimmel
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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 20th day of July 2011, that a copy of the

aforegoing Notice of Voluntary Dismissal was e-filed and sent by electronic mail to:

                                 Ross S. Enders, Esq.
                          Sessions, Fishman, Nathan & Israel
                            200 Route 31 North, Suite 203
                                Flemington, NJ 08822

                                            _/s/ Craig Thor Kimmel _______
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